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15                             UNITED STATES DISTRICT COURT
16                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                            Case No. 3:19-cv-01537-BEN-JLB
18
19                       Plaintiffs,                  Hon. Roger T. Benitez
                                                      Magistrate Hon. Jill L. Burkhardt
20
          vs.
21                                                    DECLARATION OF PLAINTIFF
                                                      RYAN PETERSON IN SUPPORT
22 XAVIER BECERRA, in his official                    OF PLAINTIFFS’ MOTION FOR
   capacity as Attorney General of
23 California, et al.,                                PRELIMINARY INJUNCTION
24
                       Defendants.                    Complaint filed:August 15, 2019
25                                                    Amended Complaint filed:
26                                                    September 27, 2019

27                                                    Hearing Date: January 16, 2020
                                                      Time: 10:00 a.m.
28                                                    Courtroom: 5A, 5th Floor

             DECLARATION OF PLAINTIFF RYAN PETERSON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
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 1                         DECLARATION OF RYAN PETERSON
 2 I, Ryan Peterson, declare as follows:
 3      1.   I am an adult resident of the County of San Diego, California, and am a named
 4 plaintiff in the above matter. I have personal knowledge of the facts stated herein, and
 5
   if called as a witness, I could competently testify to these facts.
 6
       2. This declaration is executed in support of plaintiffs’ motion for a preliminary
 7
   injunction. I am a member of the organizational plaintiffs, San Diego County Gun
 8
 9 Owners PAC, California Gun Rights Foundation, Second Amendment Foundation and
10 Firearms Policy Coalition, Inc. I make this declaration on my own behalf, and as the
11 owner-manager of Plaintiff Gunfighter Tactical.
12      3.   I am not prohibited from owning firearms under federal or state law. For many
13 years, in fact, I have held a license to carry a concealed weapon (CCW), issued by my
14
   local county sheriff, that requires a background check and good moral character. Under
15
   state law, this CCW must be renewed every two years.
16
       4. I am the lawful owner of a semi-automatic pistol that has a “fixed magazine,”
17
   that is, it contains an ammunition feeding device that cannot be removed from the
18
19 firearm without disassembly of the firearm action.” See, Pen. Code § 30515(b) and
20 11 CCR § 5471(m).
21      5.   I am also in lawful possession of a so-called “large capacity magazine” (as that
22 term is defined in Pen. Code § 16740) that is compatible with, and could be used in my
23 semiautomatic fixed magazine pistol referenced above.
24
        6.   However, California Penal Code section 30515(a)(5) prevents me from
25
     inserting or using my large capacity magazine in my fixed magazine pistol.
26
     Specifically, under Penal Code 30515(a)(5), an “assault weapon” is also defined as “[a]
27
28 semiautomatic pistol with a fixed magazine with the capacity to accept more than 10

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             DECLARATION OF PLAINTIFF RYAN PETERSON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 rounds.” However, it is my understanding that this Court has already found that the
 2 state’s prohibition on large-capacity magazines was unconstitutional, and enjoined
 3 enforcement of those provisions of the Penal Code that would have prohibited their
 4
   possession. It is my understanding that along with the right to possess large-capacity
 5
   magazines, for the reasons expressed in this Court’s judgment, I would also have the
 6
   right to use such magazines in an otherwise legally-owned firearm.
 7
      7. I wish to continue to lawfully possess my firearm, and use my firearm with my
 8
 9 lawfully possessed large capacity magazine inserted therein, without being subject to
10 arrest and/or prosecution for possessing or transporting an “assault weapon.”
11      8.   It is also my desire to obtain and acquire additional semiautomatic, centerfire
12 firearms, including AR-15 pattern firearms, that either have some or all of the features
13 listed in Pen. Code § 30515(a)(1) and which do not have a fixed magazine, and/or to
14
   obtain and acquire a semiautomatic, centerfire rifle that has a fixed magazine with the
15
   capacity to accept more than 10 rounds.
16
       9. I am also the owner/manager of Plaintiff Gunfighter Tactical, a Federal
17
18 Firearms Licensee (“FFL”) and firearms dealer in the California Department of
19 Justice’s Centralized List of Firearms Dealers. As a licensed firearms retailer, I would
20 like to have the business purchase, sell, and transfer firearms in common use for lawful
21 purposes—and which are commonly sold for lawful purposes in other parts of the
22 country—hat contain some or all of the features described by Penal Code § 30515(a) to
23
     ordinary, non-prohibited adults through my FFL dealership. I would engage in this
24
     business but for the State’s laws, and Defendants’ policies, practices, customs, and
25
     enforcement of same which prevent me from doing so.
26
27     10. On information and belief, I cannot acquire a permit under Penal Code § 31005

28 in order to sell such firearms to ordinary, law-abiding people who are not otherwise

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             DECLARATION OF PLAINTIFF RYAN PETERSON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 exempt (such as law enforcement officers, government agencies, military agencies,
 2 or governments) due to the State’s laws and Defendants’ policies, practices, and
 3 customs. Otherwise, I would, through my licensed dealership, acquire and sell firearms
 4
   described under Penal Code § 30515 to ordinary, non-prohibited citizens.
 5
   However, I am prevented from doing so due to Defendants’ enforcement of the
 6
   State’s laws and Defendants’ policies and practices which place me in fear of
 7
   prosecution and loss of license and livelihood if I were to take part in such action.
 8
 9    11. Thus, California’s assault weapon ban has violated my Second Amendment
10 rights, both as an individual, and as the owner/operator of federally licensed firearms
11 dealer, as I am prohibited from acquiring and using common semiautomatic, centerfire
12 firearms with listed features for personal use and I am prohibited from acquiring
13 and selling these firearms to ordinary lawful citizens in California as a part of my
14
   business.
15
       12. Accordingly, and for these reasons, we are respectfully requesting that
16
   the Court grant preliminary injunctive relief, enjoining enforcement or application of
17
18 Penal Code §§ 30515(a) and (b), 30600, 30605, 30800, 30910, 30915, 30945, 30950,
19 31000, and 31005, as well as Title 11, California Code of Regulations §§ 5460 and
20 5471, to the extent that the definition of “assault weapon” is based upon the
21 characteristics of Pen. Code § 30515(a), against Plaintiffs on an as-applied basis,
22 and against all similarly situated persons.
23
       I declare under penalty of perjury that the foregoing is true and correct. Executed on
24
     December 5, 2019.
25
26
27
28

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             DECLARATION OF PLAINTIFF RYAN PETERSON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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